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  AO 399 (Rev. 10/95)


                                             WAIVER OF SERVICE OF SUMMONS

               Dale K. Galipo, Law Offices of Dale K. Galipo
TO:
                                            (NAME OF PLAINTIFFS ATTORNEY OR UNREPRESENTED PLAINTIFF)


      I,      Bruce Garrett                                                                                , acknowledge receipt of your request
                                             (DEFENDANT NAME)


that I waive service of summons in the action of                            Detweiler v. City of Mount Shasta et al                                               ,
                                                                                                          (CAPTION OF ACTION)

which is case number                  2:24-cv-03100-WBS-SCR                                                   in the United States District Court
                                                             (DOCKET NUMBER)

for the                             Eastern                            District of                                    California                                  .

     I have also received a copy of the complaint in the action, two copies of this instrument, and a means by which
I can return the signed waiver to you without cost to me.

    I agree to save the cost of service of a summons and an additional copy of the complaint in this lawsuit by not
requiring that I (or the entity on whose behalf I am acting) be served with judicial process in the manner provided
by Rule 4.

     I (or the entity on whose behalf I am acting) will retain all defenses or objections to the lawsuit or to the
jurisdiction or venue of the court except for objections based on a defect in the summons or in the service of the
summons.

    I understand that a judgment may be entered against me (or the party on whose behalf I am acting) if
an answer or motion under Rule 12 is not served upon you within 60 days after        01/22/2025                                                                   ,
or within 90 days after that date if the request was sent outside the United States. (DATE REQUEST WAS SENT)




    January 27, 2025
                   (DATE)                                                                             (SIGNATURE)


                                                      Printed/Typed Name:                 Charles Bracewell

                                                      As       Attorney                                       for        Bruce Garrett
                                                                                (TITLE)                                     (CORPORATE DEFENDANT)


                                          Duty to Avoid Unnecessary Costs of Service of Summons
Rule 4 of the Federal Rules of Civil Procedure requires certain parties to cooperate in saving unnecessary costs of service of the summons and complaint. A
defendant located in the United States who, after being notified of an action and asked by a plaintiff located in the United States to waive service of summons,
fails to do so will be required to bear the cost of such service unless good cause be shown for its failure to sign and return the waiver.

It is not good cause for a failure to waive service that a party believes that the complaint is unfounded, or that the action has been brought in an improper place
or in a court that lacks jurisdiction over the subject matter of the action or over its person or property. A party who waives service of the summons retains all
defenses and objections (except any relating to the summons or to the service of the summons), and may later object to the jurisdiction of the court or to the place
where the action has been brought.

A defendant who waives service must within the time specified on the waiver form serve on the plaintiffs attorney (or unrepresented plaintiff) a response to
the complaint and must also file a signed copy of the response with the court. If the answer or motion is not served within this time, a default judgment may
be taken against that defendant. By waiving service, a defendant is allowed more time to answer than if the summons had been actually served when the request
for waiver of service was received.
